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                            UNITED STATES DISTRICT COURT     SUPPRESSED
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION                 f'~lED

UNITED STATES OF AMERICA,                        )                                    JUL 1 8 2019
                                                 )                           EAMt8E·RO/SifllCT COURT
               Plaintiff,                        )                                  N DISTRICT OF MO
                                                 ) --'-----------~-~..-..Tn;';;,;u"'',IS             "

v.                                               }
                                                 )   4:19CR562 CDP/NAB
EDDIE EARL JOHNSON, III,                         )
                                                 )
              Defendant.                         )

                                           INDICTMENT

                                           COUNT ONE

      The Grand Jury charges that:

      Beginning on or about March 31, 2019, and through May 16, 2019, in St. Louis City,

within the Eastern District of Missouri,

                                  EDDIE EARL JOHNSON, ID,

the Defendant herein, did knowingly possess one or more machineguns, that is, one or.more

conversion devises designed and intended solely and· exclusively for use in converting a weapon

into a rp.achinegun.

      In violation of Title 18, United States Code, Sections 922(o) and 924( a)(2).


                                                             A TRUE BILL


                                                             FOREPERSON
JEFFREY B. JENSEN
United States Attorney



JASON S. DUNKEL, #65886MO.
Assistant United States Attorney
